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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

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  of Aluminum Shapes, L.L.C.

  In Re:                                                    Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                  Case No. 21-16520 JNP

                                    Debtor.                 Judge Jerrold N. Poslusny, Jr.


      THIRD INTERIM AND FINAL APPLICATION OF FOX ROTHSCHILD LLP
    AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      OF ALUMINUM SHAPES L.L.C. FOR ALLOWANCE OF COMPENSATION
       FOR PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT
             OF EXPENSES INCURRED FOR THE INTERIM PERIOD
      APRIL 1, 2022 THROUGH AUGUST 24, 2022 AND THE FINAL PERIOD OF
        SEPTEMBER 2, 2021 THROUGH AND INCLUDING AUGUST 24, 2022

           Fox Rothschild LLP (“Fox Rothschild”), as counsel to the Official Committee of

 Unsecured Creditors of Aluminum Shapes, L.L.C. (the “Committee”), submits this application

 (the “Application”) pursuant to 11 U.S.C. §§ 330 and 331, Rule 2016 of the Federal Rules of

 Bankruptcy Procedure, and Local Bankruptcy Rule 2016-3, as its third interim and final fee

 application for compensation for services rendered and reimbursement of expenses for the interim

 period of April 1, 2022 through and including August 24, 2022 (the “Interim Fee Period”) and the

 final period of September 2, 2021 through August 24, 2022 (the “Final Fee Period”). By this

 Application, pursuant to the Compensation Procedures Order (defined below), Fox Rothschild


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 seeks (i) interim approval and allowance of the fees and expenses requested in the most recently

 and previously filed four monthly fee statements (Monthly Fee Statements, as defined below)1 for

 the Interim Fee Period covering April 1, 2022 through August 24, 2022, (ii) final approval of all

 monthly fee statements and interim fee applications (collectively, the “Fee Applications”) for

 professional legal services rendered in the amount of $1,610,168.402, together with reimbursement

 for actual and necessary expenses incurred in the amount of $13,677.43 for the Final Fee Period,

 September 2, 2021 through and including August 24, 2022, and (iii) authorization for the

 Liquidating Trustee (“Liquidating Trustee”) to pay the full amounts requested in the Fee

 Applications, including the 20% holdback of fees as provided for in the Compensation Procedures

 Order (as defined below), together with any other amounts due but which remain unpaid. In

 support of the Application, Fox Rothschild respectfully represents as follows:

                        JURISDICTION, VENUE, AND STATUTORY BASIS

          1.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

 1334. Consideration of this Application is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

 is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for

 the relief sought herein are sections 328, 330, and 331 of the Bankruptcy Code, Rule 2016 of the

 Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rules 2016-1 and 2016-3.




 1
   Invoices itemizing services rendered for the period of April 1, 2022 through and including August 24, 2022 Eighth
 Monthly Fee Statement (4/1/2021–4/30/2021), Ninth Monthly Fee Statement (5/1/2022–5/31/2022), Tenth Monthly
 Fee Statement (6/1/2022–6/30/2022), Eleventh Monthly Fee Statement (7/1/2022-7/31/2022) are attached hereto as
 Exhibits B1, B2, B3, and B4. An invoice itemizing services rendered for the previously unbilled period of August
 1, 2022 through and including August 24, 2022 is attached as Exhibit B5.
 2
   The total amount of compensation sought includes an additional estimated 15 hours in the amount of $5,000.00 for
 services rendered and expenses incurred relating to the preparation and finalization of the Application (the “Additional
 Payment”). Fox will advise the parties in interest if the actual amount of the Additional Payment at or before the final
 hearing on this Application and hereby reserves the right to supplement this Application to include any additional fees
 and expenses incurred during the Final Application Period, or any fees and expenses incurred in preparing, filing,
 serving and prosecution of this Application or the application of other professionals of the Committee, prior to the
 hearing on this Application.

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         2.     The statutory predicates for the relief requested herein are sections 330 and 331 of

 the Bankruptcy Code.

                                         BACKGROUND

         3.     On August 15, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

 “Bankruptcy Code”), commencing the above-captioned chapter 11 case (the “Chapter 11 Case”)

 in the United States Bankruptcy Court for the District of New Jersey (the “Court”).

         4.     On August 30, 2021, the United States Trustee for the District of New Jersey (the

 “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors (the “Committee”) in

 this Case. The Notice of Appointment of the Official Committee of Unsecured Creditors was

 docketed on September 1, 2021 [Docket No. 77].

         5.     On September 24, 2021, Fox Rothschild filed its Application for Retention of

 Professional (the “Retention Application”) [Docket No. 107].

         6.     On September 29, 2021, Fox Rothschild filed a Supplemental Certification of

 Michael J. Viscount, Jr., in Support of the Application for Retention [Docket No. 118].

         7.     On October 4, 2021, this Court approved Fox Rothschild’s retention as counsel to

 the Committee, effective as of September 2, 2021 [Docket No. 140]. A copy Fox Rothschild’s

 retention order is attached as Exhibit A.

         8.     On October 18, 2021, Fox Rothschild filed its Second Supplemental Certification

 of Michael J. Viscount, Jr., in Support of the Application for Retention [Docket No. 181].

 Subsequently, on February 28, 2022, Fox Rothschild filed its Third Supplemental Certification of

 Michael J. Viscount, Jr., in Support of the Application for Retention [Docket No. 421].




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                                           RELIEF REQUESTED

         9.       On October 15, 2021, the Court entered the Administrative Fee Order Establishing

 Procedures for Allowance and Payment of Interim Compensation and Reimbursement of Expenses

 to Professional Persons [Docket No. 182] (the “Compensation Procedures Order”).

         10.      Pursuant to the Compensation Procedures Order, professionals, as directed therein,

 may file with the Court and serve monthly fee statements on or before the 25th day of each month.

 If there are no objections to a monthly fee statement, then the professionals are entitled to payment

 in the amount of eighty percent (80%) of the fees and one hundred percent (100%) of the expenses

 requested in the monthly fee statement.

         11.      The Compensation Procedures Order further provides that pursuant to sections 330

 and 331 of the Bankruptcy Code professionals may file interim fee applications for allowance of

 compensation and reimbursement of expenses of the amount sought in the monthly fee statements,

 including the twenty percent (20%) holdback.

                   FOX ROTHSCHILD’S APPLICATION FOR COMPENSATION
                          AND REIMBURSEMENT OF EXPENSES

 A.      Third Interim Fee Application

         12.      Pursuant to this Third Interim Application3, Fox requests approval of allowance of

 compensation for actual and necessary professional services rendered during the Interim Fee

 Period in the amount of $442,943.50 and for reimbursement of reasonable and necessary out-of-

 pocket expenses in the amount of $3,860.81. All fees and expenses for this interim period remain

 unpaid. A Summary of Timekeepers included in this (Interim) Fee Application is set forth on

 pages 5 and 6 of the D.N.J. LBR 2016-1 Fee Application Cover Sheet filed herewith.


 3
   This Interim Fee Application includes fees for services performed and expense incurred during the monthly period
 of August 1, 2022 through August 24, 2022 that were not previously billed (“Additional Monthly Time”). An invoice
 itemizing services rendered for the Additional Monthly Time is attached as Exhibit B5.

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 B.      Monthly Fee Statements During the Third Interim and Final Fee Period

         13.    Pursuant to the terms of the Compensation Procedures Order, Fox filed and

 properly served four (4) monthly fee statements (“Monthly Fee Statements”) during the Third

 Interim Period. In accordance with the Compensation Procedures Order, and as set forth in Local

 Rule 2016-1, each monthly fee application included (i) a detailed itemization of the service hours

 expended by matter and professional and (ii) a summary schedule of hours and fees categorized

 by project code. Each monthly fee application also included a detailed itemization of the services

 rendered by each attorney and paraprofessional, calculated by tenths of an hour and categorized in

 accordance with the appropriate project code. Every effort was made by Fox to categorize daily

 time entries in accordance with the correct project code. However, in some instances, services

 overlap between project codes. Thus, some services may appear under more than one code,

 although in no instance is a specific time entry recorded more than once. Time entries are edited

 for accuracy, to ensure no unnecessary duplication with lead counsel, to eliminate and correct

 errors (i.e. time charged to the wrong project code), and for clarity.

         14.    On May 24, 2022, Fox Rothschild filed and served its eighth monthly fee statement

 (the “Eighth Monthly Fee Statement”) requesting payment of fees in the amount of $79,239.50

 and reimbursement of expenses in the amount of $1,163.02 incurred for the period of April 1, 2022

 through April 30, 2022. [Docket No. 527]. A true and correct copy of the Eighth Monthly Fee

 Statement is attached hereto as Exhibit B1.

         15.    No objections were filed to the Eighth Monthly Fee Statement. On June 9, 2022,

 Fox Rothschild filed a certification of no objection for its Eighth Monthly Fee Statement. [Docket

 No. 555].




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         16.   On June 21, 2022, Fox Rothschild filed and served its ninth monthly fee statement

 (the “Ninth Monthly Fee Statement”) requesting payment of fees in the amount of $104,358.50

 and reimbursement of expenses in the amount of $2,202.32 incurred for the period of May 1, 2022

 through May 31, 2022. [Docket No. 569]. A true and correct copy of the Ninth Monthly Fee

 Statement is attached hereto as Exhibit B2.

         17.   No objections were filed to the Ninth Monthly Fee Statement. On July 7, 2022,

 Fox Rothschild filed a certification of no objection for its Ninth Monthly Fee Statement. [Docket

 No. 589].

         18.   On July 21, 2022, Fox Rothschild filed and served its tenth monthly fee statement

 (the “Tenth Monthly Fee Statement”) requesting payment of fees in the amount of $117,592.00

 and reimbursement of expenses in the amount of $189.80 incurred for the period of June 1, 2022

 through June 30, 2022. [Docket No. 600]. A true and correct copy of the Tenth Monthly Fee

 Statement is attached hereto as Exhibit B3.

         19.   No objections were filed to the Tenth Monthly Fee Statement. On August 5, 2022,

 Fox Rothschild filed a certification of no objection for its Tenth Monthly Fee Statement. [Docket

 No. 615].

         20.   On August 22, 2022, Fox Rothschild filed and served its eleventh monthly fee

 statement (the “Eleventh Monthly Fee Statement”) requesting payment of fees in the amount of

 $46,437.50 and reimbursement of expenses in the amount of $173.27 incurred for the period of

 July 1, 2022 through July 31, 2022. [Docket No. 632]. Objections to the Eleventh Monthly Fee

 Statement are due no later than September 5, 2022. A true and correct copy of the Eleventh

 Monthly Fee Statement is attached hereto as Exhibit B4.




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         21.    No objections were filed to the Eleventh Monthly Fee Statement. On September 7,

 2022, Fox Rothschild filed a certification of no objection for its Eleventh Monthly Fee Statement.

 [Docket No. 644].

         22.    As of the date hereof, Fox Rothschild has received payment for fees in the amount

 of $1,514,852.40 and payment for expenses in the amount of $13,677.43.

         23.    In accordance with the Compensation Procedures Order, Fox Rothschild seeks

 interim and final approval of all fees and expenses sought in the Eighth, Ninth, Tenth and Eleventh

 Monthly Fee Statements (covering the Third Interim Period) and payment in an amount equal to

 the difference between the amount of the fees and expenses allowed and the actual payments

 received by Fox Rothschild on account of the Eighth, Ninth, Tenth and Eleventh Monthly Fee

 Statements.

         24.    In addition, this Application also seeks interim and final approval of certain

 Additional Monthly Time not previously billed, namely the fees for services rendered and the

 expenses incurred during the monthly period of August 1, 2022 through and including August 24,

 2022, the Plan Effective Date. An invoice detailing the Additional Monthly Time is attached

 hereto as Exhibit B5.

         25.    Thus, as of the date of this Application, Fox Rothschild seeks: (i) interim approval

 and allowance of the fees and expenses requested in the Monthly Fee Statements filed during the

 Interim Fee Period covering April 1, 2022 through August 24, 2022, (ii) final approval of all Fee

 Applications for professional legal services rendered in the amount of $1,610,168.40, together with

 reimbursement for actual and necessary expenses incurred in the amount of $13,677.43 for the

 Final Fee Period, September 2, 2021 through and including August 24, 2022, (iii) approval of the

 Additional Payment of $5,000.00 for services to be rendered for the period from August 25, 2022



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 through the Final Hearing Date; and (iv) authorization for the Liquidating Trustee to pay the full

 amounts requested in the Fee Applications, including the 20% holdback of fees as provided for in

 the Compensation Procedures Order, together with any other amounts due but which remain

 unpaid.

           26.   Fox has given an Additional Voluntary Reduction of $140,768.40 in this Final Fee

 Application, reducing its professional fees to a blended rate of $600 per hour.

                     JURISDICTION, VENUE, AND STATUTORY BASIS

           27.   This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

 1334. Consideration of this Application is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

 is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for

 the relief sought herein are sections 328, 330, and 331 of the Bankruptcy Code, Rule 2016 of the

 Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rules 2016-1 and 2016-3.

                SUMMARY OF SERVICES RENDERED AND EXPENSES
           INCURRED DURING THE THIRD INTERIM AND FINAL FEE PERIOD

           28.   The compensation requested in this Application is reasonable based on the nature

 and extent of the services rendered, the size and complexity of this Chapter 11 Case, the time,

 labor required and other related factors.

           29.   As described in further detail below, during the Third Interim and Final Fee Period,

 the professional services performed by Fox Rothschild were necessary and appropriate to assist

 the Debtor in this Chapter 11 Case and were performed in an expeditious and efficient manner.

 As such, Fox Rothschild submits that the compensation sought herein is reasonable within the

 meaning of sections 330 and 331 of the Bankruptcy Code.

           30.   As set forth in the Application cover sheet submitted herewith, Fox Rothschild

 rendered a total of 642.2 hours of professional services during the Interim Fee Period, for which it


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 seeks compensation of $442,943.50. A summary of the services rendered by Fox Rothschild

 during this Interim Fee Period is set forth on the accompanying Cover Sheet. This summary is

 intended to only highlight the categories of services to which Fox Rothschild devoted substantial

 time and attention on behalf of the Committee.

         31.        In addition to the foregoing, Fox Rothschild incurred out-of-pocket expenses

 (related to the services rendered) during the Interim Fee Period in the amount of $3,860.81 which

 were “actual, necessary expenses” in connection with rendering the professional services described

 above pursuant to section 330(a)(1)(B) of the Bankruptcy Code. A detailed list of the expenses

 Fox Rothschild has incurred in the course of its representation of the Debtor during the Third

 Interim and Final Fee Period is summarized. Such expenses include, but are not limited to, court

 filings, court hearings and court solutions appearances, legal research, telephone charges,

 messenger service, Federal Express charges, document retrieval, outside vendor copies and other

 professional services. Fox Rothschild has made every effort to minimize the expenses in this

 matter by utilizing the most cost-efficient methods of communication consistent with the necessary

 time restraints.

         32.        As set forth in the Application cover sheet submitted herewith, Fox Rothschild

 rendered a total of 2449.0 hours of professional services during the Final Fee Period, for which it

 seeks compensation of $1,610,168.40, together with an additional $5,000.00 Additional Payment

 (estimated 15 hours) for services rendered and expenses incurred relating to the preparation and

 finalization of this Application, for total compensation in the amount of $1,615,168.40. A

 summary of the services rendered by Fox Rothschild during this Final Fee Period is set forth on

 the accompanying Cover Sheet. This summary is intended to only highlight the categories of




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 services to which Fox Rothschild devoted substantial time and attention on behalf of the

 Committee.

         33.       In addition to the foregoing, Fox Rothschild incurred out-of-pocket expenses

 (related to the services rendered) during the Final Fee Period in the amount of $13,677.43 which

 were “actual, necessary expenses” in connection with rendering the professional services described

 above pursuant to section 330(a)(1)(B) of the Bankruptcy Code. A detailed list of the expenses

 Fox Rothschild has incurred in the course of its representation of the Committee during the Third

 Interim and Final Fee Period is summarized. Such expenses include, but are not limited to, court

 filings, court hearings and court solutions appearances, legal research, telephone charges,

 messenger service, Federal Express charges, document retrieval, outside vendor copies and other

 professional services. Fox Rothschild has made every effort to minimize the expenses in this

 matter by utilizing the most cost-efficient methods of communication consistent with the necessary

 time restraints

                                  CERTIFICATION OF COUNSEL

         34.       A Certification of Counsel is attached hereto as Exhibit D.

                                COMPLIANCE WITH GUIDELINES

         35.       Fox Rothschild believes that this Application substantially complies with the local

 rules of this Court and the United States Trustee’s guidelines for fee applications. To the extent

 there has not been material compliance with any particular rule or guideline, Fox Rothschild

 respectfully requests a waiver or an opportunity to cure.

                                            CONCLUSION

         WHEREFORE, for all of the foregoing reasons, pursuant to sections 328, 330, and 331

 of the Bankruptcy Code, Fox Rothschild respectfully requests that this Court enter an Order (i)



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 approving this Third Interim Application in the sum of $442,943.50 as compensation for

 reasonable and necessary professional services rendered to the Committee and in the sum of

 $3,860.81 for reimbursement of actual and necessary costs and expenses incurred, for a total of

 $446,804.31, for the Interim Fee Period of April 1, 2022 through and including August 24, 2022,

 (ii) granting on a final basis all of Fox’s monthly fee statements and interim fee applications, in

 the total amount of $1,610,168.40 in compensation and $13,677.43 in expense reimbursement for

 the period of September 2, 2021 through August 24, 2022; (iii) approving an allowance of

 $5,000.00 in compensation for services rendered for the period from August 25, 2022 through the

 Final Hearing Date; and (iv) authorizing and directing the Liquidating Trustee to pay Fox the

 outstanding amount of such sums4, and (iv) for such other relief as the Court deems proper and

 just.

 Dated: September 20, 2022

                                                                      Fox Rothschild LLP

                                                                      /s/ Martha B. Chovanes
                                                                      Martha B. Chovanes




 4
  After application of the Additional Voluntary Reduction, the balance due to Fox Rothschild LLP is $29,205.50
 [Fees of $29,073.10 and Costs of $132.40]. Please refer to page 8 and page 12 of the Coversheet or additional
 explanation.

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